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 1   Timothy E. Warriner (SB#166128)
     Attorney at Law
 2   428 J St., Suite 350
     Sacramento, CA 95814
 3   (916) 443-7141
     FAX: (916) 441-0970
 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                 No. CR S 07 00314 LKK
10                                       )
                 Plaintiff,              )                 STIPULATION AND ORDER
11                                       )                 CONTINUING STATUS CONFERENCE
           v.                            )                 AND EXCLUDING TIME
12                                       )
     TERESA MARIA MORALES,               )
13   ENRIQUE MORALES,                    )
     JOSE LUIS MORALES,                  )
14   JUAN MORALES, and PETRA             )
     PRECIADO MORALES,                   )
15                                       )
                 Defendants.             )
16   ____________________________________)
17   The parties hereby stipulate to the following:
18          A status conference is presently set for December 11, 2012. Counsel for Ms. Morales is
19   arranging to have approximately 10,000 pages of discovery scanned and distributed to counsel.
20   The copy service will soon be providing an estimate for this service, and counsel will then
21   request authorization from the court to pay for the scanning of the discovery. However,
22   additional time is needed to complete this process. Therefore, the parties request and stipulate
23   that the status conference be continued to February 5, 2013. The parties further stipulate that
24   time continue to be excluded until the February 5, 2013 status conference due to preparation of
25   counsel (Local Code T4), and that the interests of justice in excluding time outweigh the interests
26   of the defendants and the public in a speedy trial.
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28                                                    1
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 1
     DATED: December 5, 2012            /s/ Timothy E. Warriner
 2                                      Attorney for defendant, TERESA MARIA MORALES
 3   DATED: December 5, 2012            /s/ Bruce Locke
                                        Attorney for defendant, ENRIQUE MORALES
 4
     DATED: December 5, 2012            /s/ Dina Santos
 5                                      Attorney for defendant, JOSE LUIS MORALES
 6   DATED: December 5, 2012            /s/ Kelly Babineau
                                        Attorney for defendant, JUAN MORALES
 7
 8   DATED: December 5, 2012            /s/ Donald P. Dorfman
                                        Attorney for defendant, PETRA PRECIADO MORALES
 9
     DATED: December 5, 2012            /s/ Kyle Reardon
10                                      Assistant U.S. Attorney

11
12
                                             ORDER
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        GOOD CAUSE APPEARING, it is hereby ordered that the status conference now set for
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     December 11, 2012 be continued to February 5, 2013 at 9:15 a.m. It is further ordered that
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     time continue to be excluded to February 5, 2013 for preparation of counsel pursuant to 18
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     U.S.C. 3161(h)(7)(B)(iv) and Local Code T4. Pursuant to the stipulation of the parties, the
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     court finds that the interests of justice in excluding time outweigh the interests of the
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     defendants and the public in a speedy trial..
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     DATED: December 6, 2012
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